Dear Representative Shepherd:
You have asked this office to determine whether or not a state legislator may also serve as a mayor's court magistrate for a municipality.
R.S. 42:63(C) of our state Dual Officeholding and Dual Employment Law, R.S. 42:61, et seq., is of interest here and provides:
  C.  No person holding an elective office in the government of this state shall at the same time hold another elective office, a full-time appointive office, or employment in the government of this state or in the government of a political subdivision thereof.
A legislator holds elective office in the legislative branch of state government.  See R.S. 42:62(7).  The magistrate of a mayor's court holds part-time appointive office.  See R.S. 33:441 and R.S. 42:62(2) and (5). Further, the mayor's court is a separate political subdivision for purposes of the dual-officeholding law. See. R.S. 42:62(9).
Because the position of magistrate is held on a part-time basis, the prohibition of R.S 42:63(C) is inapplicable.  While our conclusion reflects that you may hold both positions, note that this determination is limited to an examination of the dual — officeholding law.  Mayor's courts are part of the judiciary, and its magistrates are subject to the Code of Judicial Conduct.  See LSA-Const. Article V § 5(A) and Article V § 20 (1974).  We suggest you seek the further opinion of the Judiciary Commission, with attention directed to Mr. Steven Scheckman, 601 St. Charles Avenue, New Orleans, Louisiana, 70130, phone number 504-568-8299.
Very truly yours,
                              CHARLES C. FOTI, JR. ATTORNEY GENERAL
                              BY: ____________________________ KERRY L. KILPATRICK ASSISTANT ATTORNEY GENERAL
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